Case 1:24-cv-10181-WGY Document 3 Filed 01/24/24 Page 1 of 2

UNITED STATES DISTRICT COURT —— ~

for the

DISTRICT OF MASSACHUSETTS

MJA HOLDINGS LLC
Plaintiff
Civil Action No.:
Vv. 1:24-—CV-10181-WGY

BATTLE GREEN EQUIPMENT LLC
Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
BATTLE GREEN EQUIPMENT LLC
c/o
C T CORPORATION SYSTEM
155 FEDERAL ST., SUITE 700
BOSTON, MA 02110 USA

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) -—— or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a)(2) or (3) ——— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:

Maksim Nemtsev PC
20 Park Plaza, Suite 1000
Boston, MA 02116

If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

ROBERT M. FARRELL
CLERK OF COURT

/s/ — Caetlin McManus
Signature of Clerk or Deputy Clerk

ISSUED ON 2024-01-24 14:44:41, Clerk USDC DMA
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Civil Action No.: 1:24-CV—10181-WGY

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

t

This summons for (name of individual and title, if any)

was received by me on (date) | = ol H- OLO Lf

x! personally served the summons on the individual at (place) TR > H A M A NV N Y Ce £ NC.
155 FEOERAL Sp —Sey Tin GRP Ol 25 OLY 501
Best In, ud

C) J left the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual's last known address; or

Cl T served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > or
(7 J returned the summons unexecuted because > or
C] Other (specify) :
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Ol-9 5-024 nial Cem

Date [ Server's Signature
Tort N. CiNoTT:

Printed name and title

PRWATE CUVESTICATOR
M0. Box | 305

Server's Address

FRAMINGHAM MA O1FO}

Additional information regarding attempted service, etc:
@. Wolters Kluwer

intake Specialist

CT Corporation
sopinquiries@wolterskluwer.com

155 Federal Street
Suite 700

www.wolterskluwer.com Boston, MA 02110
